

People v Owens (2020 NY Slip Op 06002)





People v Owens


2020 NY Slip Op 06002


Decided on October 22, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 22, 2020

Before: Renwick, J.P., Manzanet-Daniels, Gesmer, Oing, , JJ. 


Ind No. 1283/17 1272/18 Appeal No. 12169 Case No. 2019-2470 

[*1]The People of The State of New York, Respondent,
vDavid Owens, Defendant-Appellant.


Christina Swarns, Office of the Appellate Defender, New York (Angie Louie of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Amanda Katherine Regan of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Mark Dwyer, J.), rendered June 18, 2018,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 22, 2020
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








